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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND AUG 10 202{

 

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Fro Vesley Ave.

¢ : .
: A OLoSCD HAMA ‘ |
_ (Full name, date of birth. identification 4, dddress of. Petitioner) wae eee + os - : . ---

Petitioner,

v . Case No.:

ye. S yy
Vewsois Ha, d\Va04 _

 

(Leave blank, To be filled in by Court.)

 

 

    

  

Rate CY ERGY

BUR ST EAN tm. Keene
(Full name and address of respondent)
Respondent.

PETITION FOR WRIT OF HABEAS CORPUS
I. Background
A. Where are you detained?’

. Federal Prison

4.

 

ae 2 ae tate:Prison Sn st a Sane Ee
Local Jail or Detention Center
C] Mental Health Facility . a | | ,

O Other, describe

 

B. If you have been convicted and sentenced, provide the eit information:
1. Name and weave of court which ey sentence: \JAt of ist

/ Guaens Cour*, YolVasl 4) Ave Tomson Ha dla OY

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Do . a tC “OS “C-20-009573

2.. Your criminal case number(s):
3, The date you were sentenced: Fnac 3, AHAL

4. The charges on which you were convicted: | ale Ch cus Leshaucs TOWNS
oy onoperty < BI 0co

C. If you are awaiting trial on criminal charges, provide the following information:

 

! soe 1, Name and location of court in which charges are pending: :
: he

2. Your criminal case number(s):

3. List any hearing or trial dates which have been scheduled:

Wa
4. List the charges that are pending against you:
AF

5. Your attorney’s name, address and telephone number:

LIA

D. If you are detained.in a mental health facility, provide the following information:

 

 

 

1 How were you committed? —

 

 

LC} By a court after being found not criminally responsible,
C1 Involuntary civil commitment.

C1 Other, explain,

\\A

 

2. When were you committed? LXer

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II. Previous lawsuits

A. Have you filed other cases or.motions in state or federal court dealing with the same facts

ee,
YES [ No O

B. If you answered YES, describe that case(s) or motion(s) in the spaces below.

1. Type of case or motion: ods Srewliok od Sewkerce,

 

2. Parties to the other case(s):
Petitioner: Venelk C\\s \ ok
Respondent(s): Shale of Hang lad

3. Court (fa federal court name the district; ifa state court name the city or county):

 

 

e Cay Cencet © Lc
4. Case No.:
5. Date filed: | Ler
6. Name of judge that handled the case: oa

 

7. Disposition (won, dismissed, still pending, on appeal): S al e bX \% 10)

 

ca “Administrative proceedings

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td, 21a

 

- 8. Date of disposition: = ove “

A. If you are in a Division of Correction facility, did you file an administrative remedy

procedure request “a 185-001, et seq.?
YES OL NO

1. If you answered YES;

a. What was the result? - 1D) ¥
b. Did you appeal to the Commissioner? yo

YEs OU NO

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2. If you answered NO to either of the questions above, explain why you did not file an
administrative remedy procedure request or an appeal to the Commissioner.

 

\ V0,

 

 

_ 3. Did you file any other type of administrative complaint such as an appeal to the
_ warden of an adjustment decision?

YES OL NO

4. Ifyou answered YES, explain what you filed and what was the result.

 

Wau,

 

 

B. If you are in a Division of Correction facility or Patuxent Institution, did you file a
complaint with the Inmate Grievance Office?

"YES O No

1. Ifyou answered YES:

 

 

What w was the result?” —=p\ er.

 

 

 

a =
b. Did you | appeal t to the 5 Circuit C Court?
YES [J NO ww .
“o, What was the result? WY
d. Did you file an application for leave to appeal to the Court of Special Appeals?
YES O No -
e. | What was the result? Wt

 

 

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C. If you are a state prisoner challenging a parole revocation decision, complete the
following, ;

. °
1. Date of revocation decision: \\RL

2. Did you appeal the revocation decision to the Circuit Court?

YES No

3. Ifyou answered YES, what was the date of the Circuit Court’s decision and what was

the decision? -
oe

 

4, Did you appeal the decision of the Circuit Court?
ves OL NO

5. Ifyou answered YES, what was the result and the date of the decision?

ee

 

D. Ifyou are in a Federal facility, did you attempt to resolve your complaint informally?

yes O NO

1. Ifyou answered YES:

 

 

 

b. Did you appeal the ees to the Regional Director?

YEs 01 NO

c. Did you appeal the Regional Director’s decision to the Office of General
Counsel? dO
YES UO NO

d. What was the result? WD\ Yer

 

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. 2, If you answered NO to any of the questions above, » explain why you did not file an
administrative complaint or appeal.

LYS

 

 

E. If you are a federal prisoner challenging a parole revocation decision, complete the
following.

1. Date of revocation decision:
2. Did you appeal the revocation decision to the National Appeals Board?
YES Ol No

3. If you answered YES, what was the date of the National Appeals Board's decision

and what was the decision. Sr

F. If you are not in a Division of Correction or Federal facility, is there a grievance
procedure at your institution?

 

YES No O

1. If your answer is “ a grievance?
yes O wo

Ifyou f filed a grievance what was s thee fe result? AS YY

N

 

 

 

3. If you did not file a grievance explain why not? Wo van

 

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IV. Statement of origin ,
(Briefly state the facts of your case. Include dates, times, and places. Explain why you
believe you are improperly detained. If you are making a number of related claims, number
and explain each claim in a separate paragraph.)

 

 

(See _
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__fwye_]

 

 

 

V. Relief
(Briefly state what you want the Court to do for you.) i Vere Nou er WSK
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I declare under the penalties of perjury that the information above is true and correct.
SIGNED THIS 4 day of July, Don

Signature of Petitioner

Vane Citak.

Printed Name

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dress

 

Telephone Number

 

Email Address

 

 

 

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